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                         ASSIGNMENT AND SECURITY AGREEMENT

            This ASSIGNMENT AND SECURITY AGREEMENT dated as of August 28,
       2013, between the PUERTO RICO HIGHWAYS AND TRANSPORTATION
       AUTHORITY, a public corporation and instrumentality of the government of the
       Commonwealth of Puerto Rico (the '' Authority" or the "Assignor"); and the
       GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO, a public
       corporation and instrumentality of the government of the Commonwealth of
       Puerto Rico (the "Bank"), both parties to the Loan Agreement as of the date hereof (as
       modified, supplemented or amended from time to time, the "Loan Agreement"). All
       terms not otherwise defined hereof shall have the meanings ascribed to them in the
       Loan Agreement.

                                              WITNESSETH

             WHEREAS, the Authority has requested and obtained from the Bank a non-
       revolving credit facility in an aggregate principal amount equal to Sixty One Million
       Eight Hundred Thirty Thousand Dollars ($61,830,000) (the J(Loan pursuant to a
                                                                              11
                                                                                   )


       Loan Agreement to cover operational costs incurred by the Authority;

             WHEREAS, pursuant to the Loan Agreement, the principal of and interest on
       the Loan will be paid from the revenues allocated to the Authority by Act No. 30 and
       Act No. 31, both approved by the Legislature of the Commonwealth of Puerto Rico
       on June 25, 2013 (" Acts 30-2013 & 31-2013"), proceeds from future bond issuances
       and products of public-private partnerships, as well as. revenues of the Authority;

             WHEREAS, as a condition for the approval of the Loan, the Bank has required
       the Authority to execute and deliver this Agreement, granting a security interest to
       the Bank under the laws of Puerto Rico of the revenues generated by Acts 30-2013 &
       31-2013 in order to secure the repayment of the Loan and any other amounts owed to
       the Bank;

              NOW, THEREFORE, in consideration of the benefits to the Assignor, the
       receipt and sufficiency of which are hereby acknowledged, the Assignor hereby
       makes the following representations and warranties to the Bank and hereby
       covenants and agrees with the Bank as follows:

       SECTION 1. ASSIGNMENT OF REVENUES AND SECURITY INTERESTS

               1.1     Assignment of Revenues. The Assignor hereby absolutely, :irrevocably,
       and unconditionally assigns, conveys and transfers ½ithout recourse, to the Bank,
       and the Bank hereby accepts and assumes without recourse all of the Assignor 1s
       rights, title, obligations and interest in the revenues allocated in favor of the Assignor


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       by Acts No. 30-2013 & 31-2013 approved by the Legislature of the Commonwealth of
       Puerto Rico on June 25, 2013.

                     Grant of Security Interests. As security for the prompt and complete
                        1.2
       payment and performance when due of all of its Obligations, the Assignor does
       hereby assign, pledge and grant to the Bank a continuing security interest, which
       shall be junior, inferior and subordinate in all respects to the outstanding bonds of
       the Assignor issued pursuant to the Bond Resolutions, in all of the right, title and
       interest of the Assignor in the revenues allocated to it by Acts No. 30-2013 & 31-2013
       approved by the Legislature of the Commonwealth of Puerto Rico on June 25, 2013,
       whether presently held or hereafter acquired and wherever located (collectively, the
       "Collateral"):

                     Power of Attorney. The Assignor hereby constitutes and appoints the
                        1.3
       Bank as its true and lawful attorney, irrevocably, with full power (in the name of
       Assignor or otherwise) and in its sole discretion, to take any action and to execute any
       insb'ument which the Bank may deem necessary or advisable to accomplish the purposes
       of this Agreement, including to act, require, demand, receive, compound, and give
       acquaintance for all monies and claims for monies due or to become due to the
       Assignor under or arising out of the assigned revenues and security hereby granted,
       to endorse any checks or other instruments or orders in connection therewith and to
       file any claims or take any action or institute any proceedings which the Bank may
       deem to be necessary or advisable in the prerrrises, which appointment as attorney is
       coupled with an interest.

       SECTION 2. GENERAL REPRESENTATIONS, WARRANTIES AND
                              COVENANTS

              The Assignor represents, warrants and covenants, which representation
       warranties and covenants shall survive execution and delivery of this Agreement, as
       follows:

              2.1    Necessary Filings. Upon the filing of a duly completed financing
       statement in the Puerto Rico Department of State, all filings, registrations and
       recordings necessary or appropriate to create, protect, and perfect the security
       interest granted by the Assignor to the Bank hereby in respect of the Collateral have
       been accomplished and the security interest in the Collateral granted to the Bank
       pursuant to this Agreement ,Nill constitute a valid and enforceable perfected security
       interest therein, superior and prior to the rights of all other persons therein and
       subject only to the lien established in Section 1.2 hereof and shall be entitled to all the
       rights1 priorities and benefits afforded to perfected security interests by the Uniform
       Cornn1ercial Code or other relevant lavv, as enacted in any relevant jurisdiction. The
       Assignor agrees that from time to time, at its expense, will promptly execute and


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       deliver all further instruments and documents, and take all further action, that may
       be necessary or desirable, or that the Bank may reasonably request, in order to
       perfect and/ or protect any lien or security interest granted or purported to be
       granted hereby or to enable the Bank to exercise and enforce its rights and remedies
       hereunder or under the Loan Agreement with respect to the Collateral.

              2.2    No liens. The Assignor is, and will at all times be, the legal and
       beneficial owner of the Collateral free and clear from any lien, security interest or
       other charge or encumbrance, except for the security interest created by this
       Agreement, and the Assignor shall defend the Collateral against all claims and
       demands of all persons at any time claiming the Collateral or any interest therein
       adverse to the Bank. No financing statement, assignment, or other document similar
       in effect covering all or any part of the Collateral is on file in any recording office.

             2.3    Other Financing Statements. There is no financing statement (or similar
       statement or instrument of registration under the law of any jurisdiction) covering or
       purporting to cover any interest of any kind in the Collateral except those executed in
       favor of the Bank and those executed or to be executed as security under the Bond
       Resolutions.

             2.4    Recourse. This Agreement is made pursuant to and upon all the
       warranties, representations, covenants and agreements on the part of the Assignor
       contained herein.

              2.5    Valid Security Interest. This Agreement creates a valid and perfected
       security interest in the Collateral, securing the payment of the Obligations, and
       junior, inferior and subordinate in all respects only to the outstanding bonds of the
       Assignor issued pursuant to the Bond Resolutions. All filings and other actions
       necessary or desirable to perfect and protect such security interest have been duly
       taken, or are being taken contemporaneously with the execution hereof.

              2.6. Consents. No consent of any other person and no authorization,
       approval or other action by, and no notice to or filing with, any Governmental
       Authority or regulatory body is required for (i) the grant by the Assignor of the lien
       and security interest granted hereby or for the execution, delivery and performance
       of this Agreement and the Loan Agreement by the Assignor, (ii) the perfection or
       maintenance of the security interest created hereby (including the first priority nature
       of such security interest), or (iii) the exercise by the Bank of its rights and remedies
       hereunder.

             2, 7. Due Authorization.      The execution, delivery, and filing of and
       performance by the Assignor of this Agreement and the Loan Agreement have been
       duly authorized by all necessary action of the Assignor's Board of Directors (or
       equivalent body) and do not and will not (i) contravene any of the Assignor's




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       organizational or constituting documents, (ii) violate any provision of any applicable
       law, rule, regulation, order, writ, judgment, injunction, decree, determination or
       award presently in effect, or (iii) result in a breach of or constitute a default under
       any indenture or loan or credit agreement or any other agreement, lease, or
       instrument to which the Assignor is a party or by which it or its properties may be
       bound or affected, and (iv) the Assignor, to its knowledge, is not in default under any
       such law, rule, regulation, order, writ, judgment, injunction, decree, determination or
       award or any such indenture, agreement, lease or instrument.

              2.8. Valid Obligation. This Agreement is the legal, valid and binding
       obligation of the Assignor enforceable against the Assignor in accordance with its
       terms, subject to applicable bankruptcy, insolvency and similar laws affecting
       creditors' rights generally, and subject, as to enforceability, to general principles of
       equity, regardless of whether enforcement is sought in a proceeding in equity or at
       law.

       SECTION 3.          REMEDIES AND APPLICATION OF PROCEEDS

             3.1    Remedies. The Assignor agrees that if any event of default shall have
       occurred and be continuing regarding the Loan, then and in every such case, subject
       to any mandatory requirements of applicable law then in effect, the Bank, in addition
       to any rights now or hereafter existing under applicable law, shall have all rights as
       secured creditor under the Uniform Commercial Code in all relevant jurisdictions.

             3.2   Application of Revenues and Proceeds. The Revenues assigned and
       Proceeds acquired under the Collateral shall be applied by the Bank as follows:

                     (i) to the payment of the outstanding bonds of the Assignor issued
                     pursuant to the Bond Resolutions;

                     (ii) any and all expenses and fees (including reasonable attorneys' fees)
                     incurred by the Bank in obtaining the Collateral;

                     (iii) next, any surplus then remaining to the payment of the Obligations
                     in the following order of priority:

                                  (1)    all interest accrued and unpaid owing on the Loan
                                         Agreement;
                                   (2)   the prmdpal amount owing on the Loan
                                         Agreement;
                                   (3)   the fees then owing to the Bank; and
                                   (4)   all other outstanding Obligations then owing by the
                                         Assignor to the Bank;



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                             (iii) if no other Obligation is outstanding, any surplus then remaining
                             shall be paid to the Assignor, subject, however, to the rights of the
                             holder of any then existing lien of which the Bank has actual notice
                             (without investigation);

       it being understood that the Assignor shall remain liable to the extent of any
       deficiency between the amount of the Proceeds and the aggregate amount of the
       sums referred to in clauses (i) and (ii) of this Section 3.2 with respect to the Bank.

              3.3   Remedies Cumulative. No failure or delay on the part of the Bank in
       exercising any right, power or privilege hereunder or under any other Loan
       Document and no course of dealing between the Assignor and the Bank shall operate
       as a waiver thereof, nor shall any single or partial exercise of any right, power or
       privilege hereunder or under the Loan Documents preclude any other or further
       exercise thereof or the exercise of any other right, power or privilege hereunder or
       thereunder. The rights, powers and remedies herein or in the Loan Documents
       expressly provided are cumulative and not exclusive of any tights, powers or
       remedies which the Bank would otherwise have. No notice to or demand on the
       Assignor in any case shall entitle the Assignor to any other or further notice or
       demand in similar or other circumstances or constitute a waiver of the rights of the
       Bank to any other or further action in any circumstances without notice or demand.

             3.4    Discontinuance of Proceedings. In case the Bank shall have instituted
       any proceeding to enforce any right, power or remedy under this Agreement, and
       such proceeding shall have been discontinued or abandoned for any reason or shall
       have been determined adversely to the Bank, then and in every such case the
       Assignor and the Bank shall be restored to their former positions and rights
       hereunder with respect to the Collateral, subject to the security interest created under
       this Agreement, and all rights, remedies and powers of the Bank shall continue as if
       no such proceeding had been instituted.

       SECTION 4. INDEMNITY

              4.1    The Assignor agrees to indemnily, reimburse and hold the Bank and its
       officers, directors, employees and representatives (hereinafter in this Section 4.1
       referred to individually as "Indemnitee" and collectively as "Indernnitees") harmless
       from any and aH liabilities, obligations, losses, darnages, penalties, daints, actions,
       judgments, suits, costs, expenses or <lisbursements, including reasonable attoTneys'
       fees and expenses (for the purposes of this Section 4.1 the foregoing are collectively
       caHed expenses'') of whatsoever kind or nature which 1nay be irnposed on, asserted
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       against or incurred by any of the Indemnltees in any ,-vay relating to or arising out of
       (i) this Agreement, the Loan Agreement, the Loan Documents or any other document
       executed in connection hen:'\Vith, or (ii) any investigation, litigation or other


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       proceeding (including any threatened investigation or proceeding) relating to the
       foregoing, and the Assignor shall reimburse each Indemnitee, upon demand for any
       expenses (including legal fees) reasonably incurred in connection with any such
       investigation or proceeding, but excluding any such losses, liabilities, claims,
       damages or expenses incurred by reason of (i) the gross negligence or willful
       misconduct of the person to be indemnified, or (ii) a breach of a material provision or
       this Agreement by the person to be indemnified. It is the express intention of the
       Assignor that each person to be indemnified hereunder shall be indemnified and
       held harmless against any and all losses, liabilities, claims or damages as limited in
       the preceding sentence arising out of or resulting from the ordinary, sole or
       contributory negligence of such person. Without prejudice to the survival of any
       other obligations of the Assignor hereunder, the obligations of the Assignor under
       this Section shall survive the termination of this Agreement.

                (b)    The Assignor agrees to pay to the Bank, within fifteen (15) Business
        Days after demand, the amount of any and all reasonable costs and expenses,
        including the fees and disbursements of its counsel and of any experts and agents,
        that the Bank may incur in connection with (i) the administration of this Agreement;
        (ii) the evaluation, appraisal, custody, preservation, use or operation of, or the sale of,
        collection from, or other realization upon, any of the Collateral, (iii) the exercise or
        enforcement of any of the rights of the Bank hereunder or (iv) the failure by the
        Assignor to perform or observe any of the provisions hereof. The Assignor agrees to
        pay interest on any expenses or other sums payable to the Bank hereunder that are
        not paid when due at a rate per annum equal to the Default Rate (as defined in the
        Loan Agreement).

              (c) Without limiting the application of Section 4.l(a) or (b), the Assignor
        agrees to pay, indemnify and hold each Indemnitee harmless from and against any
        expenses which such Indemnitee may suffer, expend or incur in consequence of or
        growing out of any misrepresentation by the Assignor in this Agreement or the Loan
        Documents or in any statement or writing contemplated by or made or delivered
        pursuant to or in connection with this Agreement or the documents executed in
        connection herewith.

                4.2    Indemnity Obligations Secured by Equipment Survival. Any amounts
        paid by any Indemnitee as to which such Indemnitee has the right to reimbursement
        shall constitute Obligations secured by the Collateral. The indemnity obligations of
        the Assignor contained in this Section 4 shall continue in full force and effect
        notwithstanding the full payment of the Note issued under the Loan Agreement and
        all of the other Obligations 1 and notwithstanding the discharge thereof.




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         SECTlON 5. DEFINITIONS

               5.1    The follmving terms shall have the meaning herein specified unless the
         context otheri,vise requires. Such definitions shall be equally applicable to the
         singular and plural forms of the terms defined.

               "Agreement" shall mean this Security Agreen,ent, as modified, supplemented
         or amended from time to tilnc.

                "Obligations" shall mean all indebtedness1 obligations and liabilities
         (including,, ·without limitation, guarantees and other contingent liabilities) of the
         A.ssignor to the Bank1 including any amounts owned on account of outstanding
         obligations of the A.ssignor \Vith the Bank and those arising under or in connection
         with the Loan Agreement, the Note or the Loan Documents.

                 "Proceeds" shall have the meaning assigned to that term under the Uniform
         Commercial Code as in effect in the Commonwealth of Puerto Rico on the date
         hereof or under other relevant law and, in any event, shall include, but not limited to
         (i) any and all proceeds of any insurance, indemnity, warranty or guaranty payable
         to the Bank or the Assignor from time to time with respect to any of the Collateral,
         (ii) any and aH payments (in any form whatsoever) made or due and payable to the
         Assignor from time to time in connection with any requisition, confiscation,
         ccmdcmnation, seizure or forfeiture of all or any part of the Collateral by any
         governrnental authority (or any person acting under color of governmental
         authority) and (iii) any and all other amounts from time to time paid or payable
         under OT in connection ,vith anv of the Collateral.

               "Revenues" shall mean all revenues allocated in favor of the Assignor by Acts
         No. 30-2013 & 31-2013 approved by the Legislature of the Commonwealth of Puerto
     1   Rico on June 25, 2013 assigned to the Bank pursuant to this Af;:reement for the
         payment of outstanding bonds of the Assignor issued pursuant to the Bond
         Resolutions and other outstanding Obligations.

                 "Uniform Commercial Code" shall mean with respect to the Commonwealth
         of Puerto Rico, the Commercial Transactions Act of Puerto Rico, and with respect to
         any other jurisdiction, the version of the Puerto Rico Uniform Commercial Code in
         effect in such jurisdiction.


         SECTION 6. SECURITY INTEREST ABSOLUTE.

               Except as otherwise expressly provided herein, all rights of the Bank
         hereunder and the security interest created hereunder, and all Obligations of the


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       Assignor hereunder, shall be absolute and unconditional, and shall not be affected
       or released in any way, irrespective of:

                          (a)   any lack of validity or enforceability of any Loan Document or
                   any other agreement or instrument relating thereto but only to the extent
                   permitted by applicable law;

                           (b)   any change in the time, manner or place of payment of, or in any
                   other term of, all or any of the Obligations;

                           (c)    any taking and holding of collateral (which term for purposes of
                   thls Agreement includes, but is not limited to, the Collateral) or additional
                   guaranties for all or any of the Obligations; or any amendment, alteration,
                   exchange, substitution, transfer, enforcement, waiver or subordination of any
                   collateral or such guaranties; or the termination, release or non-perfection of
                   any collateral (other than with respect to the Collateral) given by the Assignor
                   to the Bank, or such guaranties or any consent to departure from any security
                   agreement or guaranty with respect thereto;

                          (d)     any manner of application of any of the Collateral, or proceeds
                   thereof, to all or any of the Obligations, or the manner of disposition of any of
                   the Collateral;

                          (e)    any consent by the Bank to (A) the change, restructuring or
                   termination of the corporate structure or existence of any Assignor, and
                   (B) any corresponding restructuring of, or any other restructuring or
                   refinancing of, the Obligations or any portion thereof;

                            (£) any modification, compromise, settlement or release by the Bank
                   or, by operation of law or otherwise, collection or other liquidation of the
                   Obligations or the liability of the Assignor, or of any Collaterat in whole or in
                   part; or

                          (g)    to the extent permitted by law, any other circumstance
                   (including, but not limited to, any statute of limitations) that might otherwise
                   constitute a defense available to, or a discharge of, the Assignor, other than
                   indefeasible payment in full in cash of the Obligations.

       SECTION 7. MISCELLANEOUS

             7.1   Notices. All notices and other communications hereunder shall be
       made at the addresses, in the manner and with the effect provided in Section 20 of
       the Loan Ag-reement.




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              7.2    Waiver; Amendment.       None of the terms or prov1s10ns of this
        Agreement may be altered, modified, waived or amended except by an instrument in
        writing, duly executed by the Bank and the Assignor.

               7.3    Obligations Absolute. The obligations of the Assignor under this
        Agreement shall be absolute and unconditional and shall remain in full force and
        effect without regard to, and shall not be released, suspended, discharged,
        terminated or otherwise affected by, any circumstance or occurrence whatsoever,
        including, without limitation:         (i) any renewal, extension,. amendment or
        modification of, or addition or supplement to or deletion from., any of the Loan
        Doctllilents or any other instrument or agreement referred to therein, or any
        assignment or transfer of any thereof, (ii) any waiver, consent, extension, indulgence
        or other action or inaction under or in respect of this Agreement or any of the Loan
        Documents, or any exercise or non-exercise of any right, remedy, power or privilege
        under or in respect of this Agreement or any of the Loan Documents; (iii) any
        furnishing of any additional security to the Bank or any acceptance thereof or any
        sale, exchange, release, surrender or realization of or upon any security by the Bank;
        or (iv) any invalidity, irregularity or unenforceability of all or part of the Obligations
        or of any security therefor, to the extent permitted by law.

               7.4    Successors and Assigns. Tiris Agreement shall be binding upon and
        inure to the benefit of and be enforceable by the respective successors and assigns of
        the parties hereto; provided, however, that the Assignor may not assign or transfer
        any of its rights or obligations hereunder without the prior written consent of the
        Bank. All agreements, statements, representations and warranties made by the
        Assignor herein or in any certificate or other instrument delivered by the Assignor or
        on its behalf under this Agreement shall be considered to have been relied upon by
        the Bank and shall survive the execution and delivery of this Agreement and the
        Loan Documents regardless of any investigation made by the Bank or on its behalf.

              7.5    Headings Descriptive. The headings of the several sections and
        subsections of this Agreement are inserted for convenience only and shall not in any
        way affect the meaning or construction of any provision of this Agreement.

               7.6   Governing Law. This Agreement and the rights and obligations of the
        parties hereunder shall be construed in accordance with and be governed by the law
        of the Commomvealth of Puerto Rico.

               7.7   Termination; Release. After the termination of all obligations under the
        Loan Agreement, and when all Obligations have been paid in full, this Agreement
        shall terminate, and the Bank, at the request and expense of the Assignor, will
        execute and deliver to the Assignor the proper instruments including Uniform



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       Commercial Code termination statements acknowledging the termination of this
       Agreement.

            IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
       executed and delivered by their duly authorized officers on August 28, 2013.

       GOVERNMENT DEVELOPMENT BANK                    PUERTO RICO HIGHWAYS AND
       FOR PUERTO RICO                                TRANSPORTATION AUTHORITY



                                                       vier E. Ramos,
          ~~'@'"Vice President                        Executive Director of the Puerto Rico
        and Fiscal Agent                              Highway and Transportation
                                                      Authority

        AffidavitNo. 8"1Y

               Recognized and subscribed before me by Javier E. Ramos Hernandez as
        Executive Director of the Puerto Rico Highway and Transportation Authority, of
        legal age, married, engineer and resident of Bayam6n, Puerto Rico, who is personally
        known tome.




               Recognized and subscribed before me by Jorge A. Clivilles Diaz, as Executive
        Vice President and Fiscal Agent of the Government Development Bank for Puerto
        Rico, of legal age, married and resident of San Juan, Puerto Rico, who is personally
        knm,vn to me.




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                Government Development Bank for Puerto Rico
                ·\ rt. Lci:a! 1.Hv,sion
                FO Box -12001
                San .luan, FR XXX-XX-XXXX




                Puciio Rico Highways and                                                   Transpudation Authority



                                                                         PO Bo" 42007                                                                               Sau Juan                                 FR



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        4 E~:T.~ DECL\R-\CJO'.°'." DEffNANCL\~-HE}HU CUHH.E LAS SKJUff>:-TES <.1 ..AS-ES O AR110JLOS .D.E PROPIEDAD·
        rhr'..i ViNA:VC1NG STAT€}1iENTCOVf:.'RS THE FOL[OW1'N(~ TYFi.=S c:~ iTEii,tS OF _[:-r;·,JPErrf'l,'

        Pur,;,rnnt to ilw Lo:w Agr,•emcnt and Har Assignmeut and Security Agreement, both dated Augu,a 28, 201:J, and execnt<'d
        between the Debtor and Secured f'arty herein, this J1hrnndug Slatemcnt cowrs all rennues allocated !O the Puerto Rico
        H ,ghw.1ys and Transporiati,.>n Authority (" PRHTA") by Aels No. 30 and 31 approved by Hae I..egislatun, of Uw
        Cummonwe:,lth nf Pu~rlo Rieo ,m ,June 25, 20Ll, whkh ,h,il! be junior, inferior and subonfornt<' in ;ill respects to the
        outstanding bonds of the PRHTA issued pursuant to (i) Resolution No. 9S~D6, adopted by th~ PHHTA on FcbruarJ 26, 1998,                                                                                                                                                                 ....J
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        as amcmkd, ;md (ii) Resolution No, 13-41, adopted by the PRHT.\ on Augmt 28, 2013.
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       AFFIDAVITNUMERO, NUMBEJ/;
                                     Javier E. Ramos Hernandez, Director
       Jurado J ....crito, ante mi per I Swam and subscribed before me 1,y:
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                                                                                                                                                                                                                                                                                               Oo
         Ejecutivo de la Autoridad de Carreteras y Transportacion de
         Rico, casado, mayor de edad y residente de Bayamon; Jorge A.
         Diaz, Vicepresidente Ejecutivo y Agente Fiscal del Banco Gub
         de Fomento para ~uerto Rico, casado, Mayor de edad y resideR~
                                                                    Rf
         San Juan, Puerto Rico a quienes conozco personalmente.     ~
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       En/In:    San Juan, Puerto Rico
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                                    FIRST AMENDMENT TO
                        ASSIGNMENT AND SECURITY AGREEMENT

            This FIRST AMENDMENT TO ASSIGNMENT AND SECURITY AGREEMENT
       dated as of March 31 st, 2015, between the PUERTO RICO HIGHWAYS AND
       TRANSPORTA TION AUTHORITY (the "Authority" or the "Assignor") and the
       GOVERNMENT DEVELOPMEN T BANK FOR PUERTO RICO (the 11 Bank 11 ), both
       public corporations and instrumentalities of the government of the Commonwealth
       of Puerto Rico and parties to the Assignment and Security Agreement executed on
       August 28, 2013 (as modified, supplemented or amended from time to time, the
       "Assignment and Security Agreement").

            All terms not otherwise defined hereof shall have the meanings ascribed to
       them in the Assignment and Security Agreement.

                                            WITNESS ETH

             \'VHEREAS, on August 28, 2013, the Authority and the Bank executed a Loan
       Agreement (as amended by means of the First Amendment to Loan Agreement
       executed on January 31, 2014, and as it may be further modified, supplemented or
       amended from time to time, the "Loan Agreement") for the total principal amount of
       SIXTY ONE MILLION EIGHT HUNDRED THIRTY THOUSAND DOLLARS
       ($61,830,000) (the "Loan") to cover operational costs incurred by the Authority.

              \'VHEREAS, pursuant to the Loan Agreement, the sources of payment for the
       principal and interest on the Loan are the revenues allocated to the Authority by Act
       No. 30 and Act No. 31, both approved by the Legislature of the Commonwealth of
       Puerto Rico on June 25, 2013 (" Acts 30-2013 & 31-2013"), as well as proceeds from
       future bond issuances, products of public-private partnerships and revenues of the
       Authority;

            \'VHEREAS, as a condition for the approval of the Loan and as required under
      the Loan Agreement, the parties executed the Assignment and Security Agreement
      through which the Authority granted a security interest and assigned to the Bank the
      Revenues to secure the repayment of the outstanding bonds of the Authority issued
      under the Bond Resolutions, the Loan and any other amounts owed to the Bank;

            \'VHEREAS, the Authority requested the Bank to provide financial assistance
      from the Revenues in order to cover its operational costs and expenses during the
      upcoming months;

            \'VHEREAS, in response to the Authority's request, on March 18, 2015 the
      Board of Directors of the Bank approved Resolution Number 10610 ("Resolution

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      31483v.2




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       10610") authorizing to transfer to the Authority fifty percent (50%) of the Revenues
       allocated by Acts 30-2013 & 31-2013, up to a maximum monthly amount of Ten
       Million Dollars ($10,000,000), for a period of three (3) months as of the date of the
       first transfer of funds to the Authority.

              WHEREAS, accordingly, the Board of Directors of the Bank also approved
       under Resolution 10610 to amend the Assignment and Security Agreement in order
       to authorize the use of a portion of such Revenues to provide the financial assistance
       requested by the Authority, under the evaluation and authorization of the Bank's
       Fiscal Agency Area in compliance with the terms and conditions of the Fiscal
       Oversight Agreement (FOA) in effect between the Bank and the Authority;

            WHEREAS, pursuant to Resolution Number 2015-18, adopted by the Board of
       Directors of the Authority on March 30th, 2015, the Authority has authorized to
       amend the Assignment and Security Agreement;

             NOW, THEREFORE, in consideration to the premises and for other good and
       valuable consideration, the receipt and sufficiency of which are hereby
       acknowledged, the parties hereto agree to execute this First Amendment to
       Assignment and Security Agreement (the "First Amendment") and therefore agree as
       follows:

            1. Section 3.2 of the Assignment and Security Agreement is hereby amended to
       read hereinafter as follows:

            "3.2   Application of Revenues and Proceeds. The Revenues assigned and
       Proceeds acquired under the Collateral shall be applied by the Bank as follows:

                    (i) to the payment of the outstanding bonds of the Assignor issued
                    pursuant to the Bond Resolutions;

                    (ii) any and all expenses and fees (including reasonable attorneys' fees)
                    incurred by the Bank in obtaining the Collateral;

                    (iii} next, any surplus then remaining to the payment of the Obligations
                    in the following order of priority:

                               (1) all interest accrued and unpaid owing on the Loan
                                   Agreement;
                               (2) the principal amount owing on the Loan Agreement;
                               (3) the fees then owing to the Bank; and
                               (4) all other outstanding Obligations then owing by the
                                   Assignor to the Bank;

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                            (a) Notwithstanding the order of priority established in Sub-
                    Section 3.2(iii) above, as of the date of this First Amendment, the Bank
                    shall transfer to the Assignor fifty percent (50%) of the Revenues, up to
                    a maximum monthly amount of Ten Million Dollars ($10,000,000), to
                    cover operational costs and expenses of the Assignor for a period of up
                    to three (3) months as of the date of the first transfer or until June 30,
                    2015, whichever occurs first.

                           The first transfer of funds to the Assignor shall be made from
                    any available balance as of the date of the approval of Resolution 10610
                    existing in the Interest Bearing Account (IBA) maintained at the Bank
                    for the deposit of the Revenues, after any corresponding deductions
                    made for the payment of the outstanding commitments against such
                    Revenues. Such transfer will be subject to the limits established in the
                    previous paragraph of this Sub-Section 3.2(iii)(a).

                            Each month, the Bank's Fiscal Agency Area will asses and
                    evaluate the Assignor's funding needs to cover its operations and will
                    determine the amount to be transferred for those purposes. The Bank
                    reserves the right to request from the Assignor any additional
                    information prior to any transfer of funds under this Sub-Section
                    3.2(iii)(a) and all transfers shall be subject to compliance by the
                    Assignor with the Bank's Fiscal Agency Area in compliance with the
                    terms and conditions of the Fiscal Oversight Agreement (FOA) in effect
                    between the Bank and the Authority. The Bank's management may
                    withhold any transfer of funds to the Assignor to be made hereunder if
                    determined necessary to preserve the financial condition and liquidity
                    of the Bank.

                    (4) any surplus then remaining, if no other Obligation is outstanding,
                    shall be paid to the Assignor, subject, however, to the rights of the
                    holder of any then existing lien of which the Bank has actual notice
                    (without investigation);

       it being understood that the Assignor shall remain liable to the extent of any
       deficiency between the amount of the Proceeds and the aggregate amount of the
       sums referred to in clauses (i) and (ii) of this Section 3.2 with respect to the Bank."

              2. This First Amendment does not constitute a novation of the obligations set
       forth in the Assignment and Security Agreement, the Loan Agreement and the Loan
       Documents, and all provisions of the Assignment and Security Agreement, as
       amended, the Loan Agreement and the Loan Documents not inconsistent with this
       First Amendment, shall remain in full force and effect.

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              3. In the event that any provision of this First Amendment is declared to be
       void or unenforceable, the remainder of this First Amendment shall not be affected
       thereby and shall remain in full force and effect to the extent feasible in the absence
       of the void and unenforceable declaration.

             IN WITNESS WHEREOF, the Bank and the Authority have caused this First
       Amendment to Assignment and Security Agreement to be executed and delivered by
       their respective officers thereunto duly authorized, in San Juan, Puerto Rico, as of the
       date first written above.

       GOVERNMENT DEVELOPMENT                         PUERTO RICO HIGHWAYS AND
       BANK FOR PUERTO RICO                           TRANSPORTA TION AUTHORITY



       Jorge . Cli
                                                 Jil;A ~~
                                                      Carmen A. Villar Prados
       Execu ve Vice President                        Executive Director
       and Fiscal Agent

       Affidavit No. ,--Oo-

           Recognized and subscribed before me by Carmen A. Villar Prados as Executive
      Director of the Puerto Rico Highways and Transportation Authority, of legal age,
      married and resident of Gua nabo Puerto Rico, personally known to me. In
      San Juan, Puerto Rico, on M
      EXENTO DEL PAGO DE AR
       LEY 47 DE 4 DE JUNIO      Of
                                   \
       Affidavit No. =to3

             Recognized and subscribed before me by Jorge A. Clivilles Diaz, as
       Executive Vice President and Fiscal Agent of the Government Development Bank for
       Puerto Rico, of legal age, married and resident of San Juan, Puerto Rico, who is
       personally known to me. In San Juan, Puerto Rico, on March~ 2015.




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                               SECOND AMENDMENT TO
                         ASSIGNMENT AND SECURITY AGREEMENT

           This SECOND AMENDMENT TO ASSIGNMENT AND SECURITY
      AGREEMENT dated as of April 21, 2015, between the PUERTO RICO HIGHWAYS
                                                                                  11
      AND TRANSPORTATION AUTHORITY (the" Authority" or the Assignor") and
      the GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the "Bank"),
      both public corporations and instrumentalities of the government of the
      Commonwealth of Puerto Rico and parties to the Assignment and Security
      Agreement executed on August 28, 2013 (as modified, supplemented or amended
      from time to time, the II Assignment and Security Agreement").

           All terms not otherwise defined hereof shall have the meanings ascribed to
      them in the Assignment and Security Agreement.

                                             WITNESS ETH

               WHEREAS, the Authority requested the Bank to provide financial assistance
      from the Revenues allocated by Acts 30-2013 & 31-2013 in order to cover its
      operational costs and expenses;

               WHEREAS, on March 18, 2015, the Board of Directors of the Bank approved
      Resolution Number 10610 ("Resolution 10610") authorizing to transfer to the
      Authority fifty percent (50%) of the Revenues, up to a maximum monthly amount of
      Ten Million Dollars ($10,000,000), for a period of three (3) months as of the date of the
      first transfer of funds to the Authority.

              WHEREAS, pursuant to Resolution Number 2015-18 adopted by the Board of
      Directors of the Authority on March 30th, 2015, the Authority authorized its
      Executive Director to amend the Assignment and Security Agreement in order to
      proceed with the abovementioned transfer for a period of three (3) months and to
      execute all documents necessary to carry out the purposes included in
      Resolution 2015-18;

               WHEREAS, in accordance with the foregoing, on March 31, 2015, the Bank
      and the Authority executed a First Amendment to Assignment and Security
      Agreement.

           WHEREAS, on April 1, 2015, the Bank made the first transfer of funds to the
      Authority for the amount of $9,881,088.43. However, as it was originally represented
      to the management of the Bank, the Authority needed to receive the first transfer of
      funds to cover certain operational obligations corresponding to the month of
      March of 2015.

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              WHEREAS, the Bank deemed necessary to clarify that the financial assistance
      approved under Resolution 10610 for a period of three (3) months will be provided
      for the months of March, April and May of 2015.

              WHEREAS, on April 15, 2015, the Board of Directors of the Bank approved
      Resolution Number 10655 ('Resolution 10655") and amended Resolution 10610 to
      establish that the transfer of funds to the Authority will be provided solely for the
      months of March, April and May of 2015. Accordingly, Resolution 10655 authorized
      to further amend the Assignment and Security Agreement to include said terms.

           NOW, THEREFORE, in consideration to the premises and for other good and
      valuable consideration, the receipt and sufficiency of which are hereby
      acknowledged, the parties hereto execute this Second Amendment to Assignment
      and Security Agreement (the "First Amendment") and agree as follows:

          1. The first paragraph of Sub-Section 3.2(iii)(a) of the Assignment and Security
      Agreement is hereby amended to read hereinafter as follows:

              "(a) Notwithstanding the order of priority established in Sub-Section
              3.2(iii) above, as of the date of this First Amendment, the Bank shall
              transfer to the Assignor fifty percent (50%) of the Revenues, up to a
              maximum monthly amount of Ten Million Dollars ($10,000,000), to cover
              operational costs and expenses of the Assignor during the months of
              March, April and May of 2015.'1

             2. This Second Amendment does not constitute a novation of the obligations
      set forth in the Assignment and Security Agreement, the Loan Agreement and the
      Loan Documents, and all provisions of the Assignment and Security Agreement, as
      amended, the Loan Agreement and the Loan Documents., not inconsistent with this
      Second Amendment, shall remain in full force and effect.

             3. In the event that any provision of this Second Amendment is declared to be
      void or unenforceable, the remainder of this Second Amendment shall not be
      affected thereby and shall remain in full force and effect to the extent feasible in the
      absence of the void and unenforceable declaration.

                                [SIGNATURES ON THE NEX PAGE]




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              IN WITNESS WHEREOF, the Bank and the Authority have caused this Second
      Amendment to Assignment and Security Agreement to be executed and delivered by
      their respective officers thereunto duly authorized, in San Juan, Puerto Rico, as of the
      date first written above.

      GOVERNMENT DEVELOPMENT                         PUERTO RICO HIGHWAYS AND
      BANK FOR PUERTO RICO                           TRANSPORTATION AUTHORITY




      Jor              s Dfaz                        Carmen A. Villar Prados
      Ex ______       President                      Executive Director
      an              nt

      Affidavit No.~~

           Recognized and subscribed before me by Carmen A. Villar Prados as Executive
      Director of the Puerto Rico Highways and Transportation Authority, of legal age,
      married and resident of Guaynabo, Puerto Rico, personally known to me. In
               Puerto Rico, on April,),/ , 2015.




                                                      Notary Pu
                                EXENTO DEL PAGO DE ARANCEL
                   o. ,, v)f!    LEY 47 DE 4 DE JUNIO DE 198?

            Recognized and subscribed before me by Jorge A Clivilles Dfaz, as
      Executive Vice President and Fiscal Agent of the Government Development Bank for
      Puerto Rico, of legal age, married and resident of San Juan, Puerto Rico, who is
      personally known to me. In San Juan, Puerto Rico, on April~ 2015.




                                  EXENTO DEL PAGO DE ARANCEL
                                   LEY 47 DE 4 DE JUNIO DE 1982



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                               THIRD AMENDMENT TO
                        ASSIGNMENT AND SECURITY AGREEMENT

           This THIRD AMENDMENT TO ASSIGNMENT AND SECURITY
      AGREEMENT dated as of June 16, 2015, between the PUERTO RICO HIGHWAYS
      AND TRANSPORTATION AUTHORITY (the" Authority" or the" Assignor") and
      the GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the "Bank"),
      both public corporations and instrumentalities of the government of the
    · Commonwealth of Puerto Rico and parties to the Assignment and
      Security Agreement executed on August 28, 2013 (as modified, supplemented or
      amended from time to time, the" Assignment and Security Agreement").

           All terms not otherwise defined hereof shall have the meanings ascribed to
      them in the Assignment and Security Agreement.

                                              WITNESS ETH

             WHEREAS, the parties executed the Assignment and Security Agreement
      granting a security interest and assigning to the Bank the Revenues allocated by
      Acts 30-2013 & 31-2013, to secure the repayment of the outstanding bonds of the
      Authority issued under the Bond Resolutions, the Loan and any other amounts owed
      by the Authority to the Bank.

              WHEREAS, the Authority requested the Bank to provide financial assistance
      from the Revenues in order to cover its operational costs and expenses. On
      March 18, 2015, the Board of Directors of the Bank adopted Resolution
      Number 10610 authorizing to transfer to the Authority fifty percent (50%) of the
      Revenues, up to a maximum monthly amount of Ten Million Dollars ($10,000,000),
      for a period of three (3) months as of the date of the first transfer of funds to the
      Authority.

             WHEREAS, pursuant to Resolution Number 2015-18 adopted by the Board of
      Directors of the Authority on March 30 th, 2015 ("Resolution 2015-18"), the Authority
      authorized its Executive Director to amend the Assignment and Security Agreement
      in order to proceed with the abovementioned transfer for a period of three (3)
      months and to execute all documents necessary to carry out the purposes of
      Resolution 2015-18.

              WHEREAS, in accordance with the foregoing, on March 31, 2015, the Bank
     and the Authority        executed    a    First   Amendment    to   Assignment    and
     Security Agreement.




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             WHEREAS, on April 15, 2015, the Board of Directors of the Bank approved
      Resolution Number 10655 to establish that the transfer of funds to the Authority
      would be provided solely for the months of March, April and May of 2015,
      authorizing to amend the Assignment and Security Agreement to include said terms.
      Accordingly, on April 21, 2015, the Bank and the Authority executed a
      Second Amendment to Assignment and Security Agreement.

             WHEREAS, the management of the Bank recommended to the Board of
      Directors of the Bank the engagement of FT! Capital Advisors, LLC ("FT!") to
      perform an assessment of the potential revenue/ cost structure of the Authority if a
      potential concession of the PR-20, PR-52, PR-53 and PR-66 toll roads occurs (the
      "Services"). FTI's proposed fees and related expenses for the Services are for a total
      amount of Two Hundred Ninety One Thousand Five Hundred Dollars ($291,500),
      with a timeline of three weeks or less to complete the Services.

             WHEREAS, in order for the Authority to reimburse the Bank for FTI's fees
      and expenses, management also recommended to authorize a withholding of such
      amounts from the Revenues covered in the Assignment and Security Agreement.

             WHEREAS, on May 20, 2015, the Board of Directors of the Bank adopted
      Resolution Number 10686 ("Resolution 10686"), authorizing to amend the existing
      contract between FTI and the Bank (Contract Number 2015-BGF149) with the
      purpose of including the Services and increasing the compensation amount by an
      additional Two Hundred Ninety One Thousand Five Hundred Dollars ($29t500).

             WHEREAS, in order for the Authority to reimburse the Bank for FTI's fees
     and expenses, Resolution 10686 authorized the Bank to withhold such amounts from
     the funds that will be disbursed to the Authority from the Revenues corresponding
     to the month of May 2015, and to further amend the Assignment and
     Security Agreement as deemed necessary to proceed with the above.

          NOW, THEREFORE, in consideration to the premises and for other good and
     valuable consideration, the · receipt and sufficiency of which are hereby
     acknowledged, the Bank and the Authority hereto execute this Third Amendment to
     Assignment and Security Agreement (the "Third Amendment") and agree as follows:

           1. The Bank will withhold the amount of Two Hundred Ninety One Thousand
     Five Hundred Dollars ($291,500) from the percentage of Revenues to be transferred
     to the Authority under Sub-Section 3.2(iii)(a) of the Assignment and Security
     Agreement corresponding to the month of May 2015. The parties agree that the Bank
     will conduct such withholding of funds as reimbursement by the Authority for the
     payment of fees and expenses related to FTI's Services.


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             2. This Third Amendment does not constitute a novation of the obligations set
      forth in the Assignment and Security Agreement, the Loan Agreement and the Loan
      Documents, and all provisions of the Assignment and Security Agreeme_nt, as
      amended, the Loan Agreement and the Loan Documents, not inconsistent with this
      Third Amendment, shall remain in full force and effect
             3. In the event that any provision of this Third Amendment is declared to be
      void or unenforceable, the remainder of this Third Amendment shall not be affected
      thereby and shall remain in full force and effect to the extent feasible in the absence
      of the void and unenforceable declaration.

                                [SIGNATURES ON THE NEXT PAGE]




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            IN WITNESS WHEREOF, the Bank and the Authority have caused this Third
      Amendment to Assignment and Security Agreement to be executed and delivered by
      their respective officers thereunto duly authorized, in San Juan, Puerto Rico, as of the
      date first written above.

      GOVERNMENT DEVELOPMENT                          PUERTO RICO HIGHWAYS AND
      BANK FOR. PUERTO RICO                           TRANSPORTATION AUTHORITY




      Jorg 'A. Ch · les Diaz
                                                 Ai3!t4/lC(aav
                                                      Carmen A. Villar Prados
      Executive ice President                         Executive Director
      and Fiscal Age~t



      Affidavit No. 1,0~3 ·

           Recognized and subscribed before me by Carmen A. Villar Prados as Executive
      Director of the Puerto Rico Highways and Transportation Authority, of legal age,
      married and resident of Guaynabo, Puerto Rico, personally known to me.

                      n, Puerto Rico, on June ~ 2015.




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                                LEY 47 DE 4 DE JUNIO DE 1982

     Affidavit No. f' 0:J'/

           Recognized and subscribed before me by Jorge A. Clivilles Diaz, as
     Executive Vice President and Fiscal Agent of the Government Development Bank for
     Puerto Rico, of legal age, married and resident of San Juan, Puerto Rico, who is
     personally known to me.

           In San Juan, Puerto Rico, on June !...k._, 2015.




                              XENTO DEL PAGO ~ ARANCEL
                              LEY 47 DE 4 DE JUNIO DE 1982


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                               FOURTH AMENDMENT TO
                         ASSIGNMENT AND SECURITY AGREEMENT

             This FOURTH AMENDMENT TO ASSIGNMENT AND SECURITY
        AGREEMENT dated as of _ _ _             __J2015, between the PUERTO RICO
                                                                         II
        HIGHWAYS AND       TRANSPORTATION        AUTHORITY       (the Authority" or the
         Assignor") and the GOVERNMENT DEVELOPMENT BANK FOR PUERTO
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        RICO (the "Bank"), both public corporations and instrumentalities of the
        government of the Commonwealth of Puerto Rico and parties to the Assignment and
        Security Agreement executed on August 28, 2013 (as modified, supplemented or
        amended from time to time, the" Assignment and Security Agreement").

            All terms not otherwise defined hereof shall have the meanings ascribed to
        them in the Assignment and Security Agreement.

                                             WITNESS ETH

               WHEREAS, the parties executed the Assignment and Security Agreement
        granting a security interest and assigning to the Bank the Revenues allocated by
        Acts 30-2013 & 31-2013, to secure the repayment of the outstanding bonds of the
        Authority issued under the Bond Resolutions, the Loan and any other amounts owed
        by the Authority to the Bank.

               WHEREAS, the Authority requested the Bank to provide financial assistance
        from the Revenues in order to cover its operational costs and expenses. On
        March 18, 2015, the Board of Directors of the Bank adopted Resolution
        Number 10610 authorizing to transfer to the Authority fifty percent (50%) of the
        Revenues, up to a maximum monthly amount of Ten Million Dollars ($10,000,000),
        for a period of three (3) months as of the date of the first transfer of funds to the
        Authority.

             WHEREAS, pursuant to Resolution Number 2015-18 adopted by the Board of
        Directors of the Authority on March 30, 2015 ("Resolution 2015-18"), the Authority
        authorized its Executive Director to amend the Assignment and Security Agreement
        in order to proceed with the abovementioned transfer for a period of three (3)
        months and to execute all documents necessary to carry out the purposes of
        Resolution 2015-18.

              "WHEREAS, in accordance with the foregoing, on March 31, 2015, the Bank
        and the Authority executed a First Amendment to Assignment and
        Security Agreement.




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              WHEREAS, on April 15, 2015, the Board of Directors of the Bank approved
        Resolution Number 10655 to establish that the transfer of funds to the Authority
        would be provided solely for the months of March, April and May of 2015,
        authorizing to amend the Assignment and Security Agreement to include said terms.
        Accordingly, on April 21, 2015, the Bank and the Authority executed a
        Second Amendment to Assignment and Security Agreement.

              WHEREAS, on May 20, 2015, the Board of Directors of the Bank adopted
        Resolution Number 10686 ("Resolution 10686"), authorizing to amend the contract
        between FTI Capital Advisors, LLC ("FTI") and the Bank (Contract Number 2015-
        BGFl 49) in order to perform an assessment of the potential revenue/ cost structure of
        the Authority if a potential concession of the PR-20, PR-52, PR-53 and PR-66 toll
        roads occurs and increase the compensation amount by an additional Two Hundred
        Ninety One Thousand Five Hundred Dollars ($291,500).

              WHEREAS, in addition, Resolution 10686 authorized the Bank to withhold
        from the transfer of funds to the Authority corresponding to the month of May 2015,
        the amounts necessary to reimburse the Bank for FTI' s              and expenses.
        Accordingly, on June 16, 2015, the Bank and the Authority executed a
        Third Amendment to Assignme~t and Security Agreement.

               WHEREAS, the Authority has requested the Bank to continue providing such
        financial assistance to cover its operational costs and expenses until the totality of its
        outstanding Obligations are transferred to the Puerto Rico Infrastructure Financing
        Authority ("PRIFA") pursuant to Act 1-201 as amended.

                WHEREAS, the Authority currently owes the following amounts to the Bank:
        (i) $2,940,800 for services provided by FTI under contract number 2014-BGF104; (ii)
        $352,958.66 for services provided by FTI under contract number 2015-BGF149i and
        (iii) $3,264,807.55 for services provided by Alvarez & Marsal Business Consulting,
        LLC (1' Alvarez & Marsal") under contracts number 2012-BGF124, 2013-BGF087, 2014-
        BGF044 and 2014-BGF076. The Bank~s management recommended withholding the
        necessary amounts from the monthly transfers to the Authority in order to repay
        these amounts due to the Bank in a period of three (3) months.

               WHEREAS, on June 17, 2015, the Board of Directors of the Bank adopted
        Resolution Number 10729 ("Resolution 10729") authorizing, among other terms and
        conditions, to continue transferring to the Authority fifty percent (50%) of the
        Revenues, up to a maximum monthly amount of Ten Million Dollars ($10,000,000), to
        cover its operational costs and expenses until the totality of the Authority's
        Obligations are transferred to PRIFA pursuant to Act 1-2015, as amended, and after
        the corresponding deductions are made for the payment of the outstanding
        commitments against such Revenues.

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                'WHEREAS, for the payment of services rendered by FTI and Alvarez &
        Marsal in benefit of the Authority, Resolution 10729 also authorized the Bank to
        withhold the necessary amounts from the monthly transfers to the Authority in order
        to repay the outstanding debt of approximately $6,558,566.21 due to the Bank in a
        period of three (3) months.

              'WHEREAS, by means of Resolution Number 2015-29 adopted on July 9, 2015,
        the Board of Directors of the Authority approved to amend the Assignment and·
        Security Agreement in order to continue receiving the financial assistance as
        described above and authorized the Executive Director of the Authority to execute all
        documents necessary to carry out its purposes, including any amendments m
        accordance with Resolution 10729 and subject to the Bank's financial advice.

                'WHEREAS, in accordance with the foregoing, the Bank and the Authority
        agree to further amend the Assignment and Security Agreement to continue
        providing the financial assistance requested by the Authority and include the
        abovementioned terms and conditions regarding the authorized withholdings.

                NOW, THEREFORE, in consideration to the premises and for other good and
        valuable consideration, the receipt and sufficiency of which are hereby
        acknowledged, the Bank and the Authority execute this Fourth Amendment to
        Assignment and Security Agreement (the "Fourth Amendment") and agree as
        follows:

               1. The Bank         to continue transferring to the Assignor fifty percent (50%)
        of the Revenues, up to a maximum monthly amount of Ten Million Dollars
        ($10,000,000), to cover operational costs and expenses of the Assignor. The parties
        agree that such transfers shall be made until all outstanding Obligations owed by the
        Assignor to the Bank are transferred to PRIFA pursuant to Act 1-2015, as amended,
        and after the corresponding deductions are made for the payment of the outstanding
        commitments against such Revenues.

              The parties specifically agree that all other terms and conditions established in
        Sub-Section 3.2(iii)(a) of the Assignment and Security Agreement, as amended, not
        inconsistent with the foregoing, shall remain unaltered and in full force and effect.

             2. For the payment of the outstanding debt of approximately $6,558,566.21
        owed to the Bank regarding services rendered by FTI and Alvarez & Marsal in
        benefit of the Assignor, the parties agree that the Bank will withhold the necessary
        amounts from the percentage of Revenues to be transferred to the Assignor under
        Sub-Section 3.2(iii)(a) of the Assignment and Security Agreement, as herein
        amended, to !epay such amounts due in a period of three (3) months.


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               3. This Fourth Amendment does not constitute a novation of the obligations
        set forth in the Assignment and Security Agreement, the Loan Agreement and the
        Loan Documents, and all provisions of the Assignment and Security Agreement, as
        amended, the Loan Agreement and the Loan Documents, not inconsistent with this
        Fourth Amendment, shall remain in full force and effect.

               4. In the event that any provision of this Fourth Amendment is declared to be
        void or unenforceable, the remainder of this Fourth Amendment shall not be affected
        thereby and shall remain in full force and effect to the extent feasible in the absence
        of the void and unenforceable declaration.

                                         [SIGNATURES ON THE NEXT PAGE]




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                    IN WITNESS WHEREOF, the Bank and the Authority have caused this
             Fourth Amendment to Assignment and Security Agreement to be executed and
             delivered by their respective officers thereunto duly authorized, in San Juan, Puerto
             Rico, as of the date first written above.

             GOVERNMENT DEVELOPMENT                        PUERTO RICO HIGHWAYS AND
             BANK FOR PUERTO RICO                          TRANSPORTATION AUTHORITY




             Jorge A. Clivilles Diaz                       Carmen A. Villar Prados
             Executive Vice President                      Executive Director
             and Fiscal Agertt



             Affidavit No.

                  Recognized and subscribed before me by Carmen A. Villar Prados as Executive
             Director of the Puerto Rico Highways and Transportation Authority, of legal age,
             married and resident of Guaynabo, Puerto Rico, personally known to me.

                     In San Juan, Puerto Rico, on ____ ~ 2015.




                                                                 Notary Public


             Affidavit No.

                   Recognized and subscribed before me by Jorge A. Clivilles Diaz, as
             Executive Vice President and Fiscal Agent of the Government Development Bank for
             Puerto Rico, of legal age, married and resident of San Juan, Puerto Rico, who is
             personally known to me.

                     In San Juan, Puerto Rico, on _ _ _ ~ 2015.




                                                                 Notary P-µblic

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                              FIFTH AMENDMENT TO
                       ASSIGNMENT AND SECURITY AGREEMENT

           Thls FIFTH AMENDMENT TO ASSIGNMENT AND SECURITY AGREEMENT
      dated as of November 10, 2015, between the PUERTO RICO HIGHWAYS AND
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      TRANSPORTATION AUTHORITY (the Authority" or the Assignor") and the
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      GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the "Bank"), both
      public corporations and instrumentalities of the government of the Commonwealth of
      Puerto Rico and parties to the Assignment and Security Agreement executed on
      August 28, 2013 (as modified, supplemented or amended from time to time, the
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       Assignment and Security Agreement").

          All terms not otherwise defined hereof shall have the meanings ascribed to
      them in the Assignment and Security Agreement.

                                            WlTNESSETH

             WHEREAS, the parties executed the Assignment and Security Agreement
      granting a security interest and assigning to the Bank the Revenues allocated by
      Acts 30-2013 & 31-2013, to secure the repayment of the outstanding bonds of the
      Authority issued under the Bond Resolutions, the Loan and any other amounts owed
      by the Authority to the Bank.

             WHEREAS, on March 31, 2015, the Bank and the Authority executed a First
      Amendment to Assignment and Security Agreement (the "First Amendment")
      authorizing to transfer to the Authority 50% of the Revenues, up to a maximum
      monthly amount of $10,000,000, for a period of 3 months as of the date of the first
      transfer of funds, with the purpose of providing financial assistance to the Authority
      to cover its operational costs and expenses. The First Amendment was executed
      pursuant to Resolution Number 10610 adopted on March 18, 2015 by the Board of
      Directors of the Bank and Resolution Number 2015-18 adopted on March 30, 2015 by
      the Board of Directors of the Authority.

            'WHEREAS, on April 15, 2015, the Board of Directors of the Bank approved
      Resolution Number 10655 to establish that the transfer of funds to the Authority would
      be provided solely for the months of March, April and May of 2015, authorizing to
      amend the Assignment and Security Agreement to include said terms. Accordingly,
      on April 21, 2015, the Bank and the Authority executed a Second Amendment to
      Assignment and Security Agreement.

             WHEREAS, on May 20, 2015, the Board of Directors of the Bank adopted
      Resolution Number 10686 authorizing the Bank to withhold from the transfer of funds
      to the Authority corresponding to the month of May 2015, the amounts necessary to

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      reimburse the Bank for the payment of FTI Capital Advisors, LLC's ("FTI") fees and
      expenses, among other terms and conditions. Accordingly, on June 16, 2015, the Bank
      and the Authority executed a Third Amendment to Assignment and Security
      Agreement.

              WHEREAS, on July 30, 2014, the Bank and the Authority executed a Fourth
      Amendment to Assignment and Security Agreement (the "Fourth Amendment") to:
      (i) continue transferring to the Authority 50% of the Revenues, up to a maximum
      monthly amount of $10,000,000, to cover its operational costs and expenses until the
      totality of the Authority's Obligations are transferred to the Puerto Rico Infrastructure
      Financing Authority pursuant to Act 1-2015, as amended, and after the corresponding
      deductions are made for the payment of the outstanding commitments against such
      Revenues; and (ii) to withhold the necessary amounts from the monthly transfers to
      the Authority in order to repay in a period of 3 months the outstanding debt of
      approximately $6,558,566.21 due to the Bank for services rendered by FTI and Alvarez
      & Marsal Business Consulting, LLC in benefit of the Authority.

            WHEREAS, the Fourth Amendment was executed pursuant to Resolution
      Number 10729 adopted on June 17, 2015 by the Board of Directors of the Bank and
      Resolution Number 2015-29 adopted on July 9, 2015 by the Board of Directors of the
      Authority ("Resolution 2015-29").

            WHEREAS, on September 23, 2011, the Bank and the Authority executed a Loan
      Agreement providing the Authority a loan in the amount of $400,000,000 (the "FRN
      Loan") to finance the purchase of certain of the Authority's Transportation Revenue
      Refunding Bonds, Series N (the "FRNs"), which were purchased by the Bank from
      Citibank, who negotiated the repurchase of the FRNs from holders.

            WHEREAS, to secure repayment of the FRN Loan, the Authority delivered the
      FRNs to the Bank to be held as collateral for the FRN Loan and certain other loans
      provided by the Bank to the Authority.

             WHEREAS, on August 29, 2013, the Authority repaid the FRN Loan with the
      proceeds of a bond anticipation note sold to RBC Capital Markets Inc.
      Notwithstanding, rather than cancelling the FRNs at the time of the issuance of said
      bond anticipation note, the FRNs were in turn pledged by the Authority to the Bank
      as collateral for the repayment of a portion of other unsecured loans of the Authority
      pursuant to an Amended and Restated Pledged, Custody and Security Agreement (the
      "Pledge Agreement") executed among the Authority, the Bank and The Bank of New
      York Mellon ("BNYM"), as custodian.

            WHEREAS, MBIA Insurance Corporation and Ambac Assurance Corporation
      each insure a portion of the FRNs and have requested that the FRNs be cancelled in

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      accordance with the provisions of the Authority's Resolution No. 98-06, adopted by
      the Authority on February 26, 1998, as amended (the "1998 Resolution"), which
      requires that bonds purchased by the Authority be delivered to the fiscal agent for
      cancellation.

              WHEREAS, on November 9, 2015, the Bank, the Authority and BNYM executed
      a Termination Agreement (the "Termination Agreement"), pursuant to Resolution
      Number 10837 adopted on October 28, 2015 by the Bank's Board of Directors
      ("Resolution 10837"), and by which the Bank released its liei;,. on the FRNs and
      terminated the Pledge Agreement.

              \!VHEREAS, Resolution 10837 also authorized to further amend the Assignment
      and Security Agreement to withhold a quarterly amount of $750,000 from the up to
      $10,000,000 monthly transfers to the Authority from the Revenues. Each quarter, such
      withheld amount will be applied by the Bank for the payment of a portion of
      outstanding loans of the Authority in lieu of the payment that was previously received
      from the FRNs.

            WHEREAS, in addition, Resolution Number 2015-29 authorized the Executive
      Director of the Authority to execute all documents necessary to carry out its purposes,
      including any amendments in accordance with any resolution duly adopted by the
      Board of Directors of the Bank and subject to the Bank's financial advice.

              WHEREAS, in accordance with the foregoing, the Bank and the Authority agree
      to further amend the Assignment and Security Agreement to include the
      abovementioned terms and conditions regarding the authorized quarterly
      withholding in the amount of $750,000 from the funds to be transferred to the
      Authority, and to apply such funds for the payment of a portion of any other
      outstanding loans of the Authority with the Bank.

            NOW, THEREFORE, in consideration to the premises and for other good and
      valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
      the Bank and the Authority execute this Fifth Amendment to Assignment and Security
      Agreement (the "Fifth Amendment") and agree as follows:

             1. In lieu of the payments previously received by the Bank from the now
      released FRNs, the parties agree that the Bank will withhold a quarterly amount of
      Seven Hundred Fifty Thousand Dollars ($750,000.00) from the percentage of Revenues
      to be transferred to the Assignor under Sub-Section 3.2(iii)(a) of the Assignment and
      Security Agreement, as amended, for the payment of a portion of any other
      outstanding loans of the Authority with the Bank.



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             2. The parties specifically agree that all other terms and conditions established
      in Sub-Section 3.2(iii)(a) of the Assignment and Security Agreement, as amended, not
      inconsistent with the foregoing, shall remain unaltered and in full force and effect.

             3. This Fifth Amendment does not constitute a novation of the obligations set
      forth in the Assignment and Security Agreement, the Loan Agreement and the Loan
      Documents, and all provisions of the Assignment and Security Agreement, as
      amended, the Loan Agreement and the Loan Documents, not inconsistent with this
      Fifth Amendment, shall remain in full force and effect.

            4. In the event that any provision of this Fifth Amendment is declared to be void
      or unenforceable, the remainder of this Fifth Amendment shall not be affected thereby
      and shall remain in full force and effect to the extent feasible in the absence of the void
      and unenforceable declaration.

             IN WITNESS WHEREOF, the Bank and the Authority have caused this Fifth
      Amendment to Assignment and Security Agreement to be executed and delivered by
      their respective officers thereunto duly authorized, in San Juan, Puerto Rico, as of the
      date first written above.

       GOVERNMENT DEVELOPMENT
       BANK FOR PUERTO RICO
                                                 ~PORTc;HORm
                                                       PUERTO RICO HIGHWAYS AND




                          eroa                         Carmemlar Prados
       Executive Vice President                        Executive Director
       and Chief Operating Officer

      Affidavit No. l10SI

      Recognized and subscribed before me by Karalee Garcia Figueroa, as Executive Vice
      President and Chief Operating Officer of the Government Development Bank for
      Puerto Rico, of legal age, married and resident of San Juan, Puerto Rico, and Carmen
      A. Villar Prados, as Executive Director of the Puerto Rico Highways and
      Transportation Authority, of legal age, married and resident of Guaynabo, Puerto
      Rico, both personally known to me.

              San Juan, Puerto Rico, on November j_Q_, 2015.




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                                SIXTH AMENDMENT TO
                         ASSIGNMENT AND SECURITY AGREEMENT

            This SIXTH AMENDMENT TO ASSIGNMENT AND SECURITY AGREEMENT
       dated as of January 19, 2016, between the PUERTO RICO HIGHWAYS AND
       TRANSPORTATION AUTHORITY (the "Authority" or the "Assignor") and the
       GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the "Bank"), both
       public corporations and instrumentalities of the government of the Commonwealth of
       Puerto Rico and parties to the Assignment and Security Agreement executed on
       August 28, 2013 (as modified, supplemented or amended from time to time, the
       "Assignment and Security Agreement").

           All terms not otherwise defined hereof shall have the meanings ascribed to
       them in the Assignment and Security Agreement.

                                              WITNESS ETH

              WHEREAS, the parties executed the Assignment and Secl;lrity Agreement
       granting a security interest and assigning to the Bank the Revenues allocated by
       Acts 30-2013 & 31-2013, to secure the repayment of the outstanding bonds of the
       Authority issued under the Bond Resolutions, the Loan and any other amounts owed
       by the Authority to the Bank

              WHEREAS, on March 31, 2015, the parties executed a First Amendment to
       Assignment and Security Agreement (the "First Amendment") authorizing to transfer
       to the Authority 50% of the Revenues, up to a maximum monthly amount of
       $10,000,000, for a period of 3 months as of the date of the first transfer of funds, with
       the purpose of providing financial assistance to the Authority to cover its operational
       costs and expenses. The First Amendment was executed pursuant to Resolution
       Number 10610 adopted on March 18, 2015 by the Board of Directors of the Bank and
       Resolution Number 2015-18 adopted on March 30, 2015 by the Board of Directors of
       the Authority.

              WHEREAS, on April 21, 2015, the parties executed a Second Amendment to
       Assignment and Security Agreement to establish that the transfer of funds to the
       Authority would be provided solely for the months of March, April and May of 2015,
       as authorized pursuant to Resolution Number 10655 adopted on April 15, 2015 by the
       Board of Directors of the Bank.

             WHEREAS, on June 16, 2015, the parties executed a Third Amendment to
       Assignment and Security Agreement to withhold from the transfer of funds to the
       Authority corresponding to the month of May 2015, the amounts necessary to
       reimburse the Bank for the payment of FTI Capital Advisors, LLC's ("FTI") fees and

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       expenses, among other terms and conditions established in Resolution Number 10686
       adopted on May 20, 2015 by the Board of Directors of the Bank.

              WHEREAS, pursuant to Resolution Number 10729 adopted on June 17, 2015 by
       the Board of Directors of the Bank and Resolution Number 2015-29 adopted on July 9,
       2015 by the Board of Directors of the Authority ("Resolution 2015-29"), a Fourth
       Amendment to Assignment and Security Agreement was executed by the parties on
       July 30, 2015 to: (i) continue transferring to the Authority 50% of the Revenues, up to
       a maximum monthly amount of $10,000,000, to cover its operational costs and
       expenses until the totality of the Authority's Obligations are transferred to the Puerto
       Rico Infrastructure Financing Authority pursuant to Act 1-2015, as amended, and after
       the corresponding deductions are made for the payment of the outstanding
       commitments against such Revenues; and (ii) to withhold the necessary amounts from
       the monthly transfers to the Authority in order to repay in a period of 3 months the
       outstanding debt of approximately $6,558,566.21 due to the Bank for services rendered
       by FTI and Alvarez & Marsal Business Consulting, LLC in benefit of the Authority.

             l'VHEREAS, on November 10, 2015, the parties executed a Fifth Amendment to
       Assignment and Security Agreement in order for the Bank to withhold a quarterly
       amount of $750,000 from the up to $10,000,000 monthly transfers to the Authority, to
       be applied for the payment of a portion of outstanding loans of the Authority in lieu
       of the payment that was previously received from the Authority's Transportation
       Revenue Refunding Bonds, Series N, among other terms established in Resolution
       Number 1083 adopted on October 28, 2015 by the Board of Directors of the Bank.

               WHEREAS, in accordance to Executive Order 2015-046 approved on November
       30, 2015 ("EO 2015-046"), the Secretary of Treasury was ordered to, among other
       dispositions, withhold funds from the revenues assigned to various public
       corporations for the payment of certain obligations in order to provide the necessary
       resources for the payment of the public debt, while continuing to provide essential
       services to protect the health, security, education and public welfare of the people of
       Puerto Rico. In addition, EO 2015-46 established that said withholding of revenues
       shall not affect the funds necessary for the operations of these public corporations.

             WHEREAS, in accordance with the foregoing, the Secretary of Treasury
       withheld to the Authority the revenues corresponding to November 2015, which were
       assigned pursuant Section 3060.11 of Act 1-2001, as amended, and Section 2301 of
       Act 22-2000, as amended, and will continue with such withholdings while
       EO 2015-046 remains in effect ("Clawback").

               WHEREAS, along with a portion of the pledged toll revenues generated and
       collected by the Authority, certain amounts of the monthly transfers to the Authority
       now retained under the Clawback disposition are, at the same time, used to contribute

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       monthly to the set asides for the payment of the outstanding bonds of the Authority
       issued pursuant Resolution No. 68-18, adopted by the Authority on June 13, 1968, and
       Resolution No. 98-06, adopted by the Authority on February 26, 1998, as amended (the
       "Set Asides").

              WHEREAS, as a result of the Clawback, the Authority will have to send the
       trustee the totality of the toll revenues since the pledged portion alone is insufficient
       to meet the full amount of the Set Asides. Consequently, the Authority does not have
       its two main revenue sources to finance its operating costs and expenses.

             WHEREAS, the Revenues allocated by Acts 30-2013 & 31-2013 transferred by
       the Treasury Department to the Bank, from which the Bank transfers to the Authority
       50% of the funds, up to a maximum amount of $10,000,000 per month, constitutes the
       Authority's third main source of income not pledged for the payment of the Bonds
       issued on 1968 and 1998.

              WHEREAS, as informed by the Authority to the Board of Directors of the Bank,
       its operating costs and expenses to provide essential services are approximately
       $19,700,000 per month. In accordance with the premises established in EO 2015-046 as
       not to affect the provision of essential services or the funds necessary for the operations
       of the Authority, as well as to only withhold the resources needed for payment of the
       public debt, it has been identified as a possible alternative to cover the Authority's
       operational costs and expenses with the Revenues allocated by Acts 30-2013 & 31-2013,
       which are transferred by the Department of Treasury to the Bank in accordance with
       the Assignment and Security Agreement.

              WHEREAS, the Authority requested the Bank to amend the Assignment and
       Security Agreement in order to rescind the monthly amount limit of $10,000,000 for
       the tran5fers of funds made from the Revenues.

             WHEREAS, by means of Resolution Number 10888 adopted on December 16,
       2015 ("Resolution 10888"), the Board of Directors of the Bank has authorized to
       continue transferring to the Authority fifty percent (50%) of the Revenues to cover the
       operational costs and expenses that ensure the provision of essential services as
       provided in EO 2015-046. Furthermore, Resolution 10888 also authorized to amend the
       Assignment and Security Agreement in order to rescind the maximum monthly
       amount cap of $10,000,000, until the Board of Directors of the Bank determines
       otherwise.

             WHEREAS, in addition, Resolution Number 2015-29 authorized the Executive
       Director of the Authority to execute all documents necessary to carry out its purposes,
       including any amendments to the Assignment and Security Agreement in accordance


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              with any resolution duly adopted by the Board of Directors of the Bank and subject to
              the Bank's finandal advice.

                      'WHEREAS, in accordance with the foregoing, the Bank and the Authority agree
              to further amend the Assignment and Security Agreement to include the
              abovementioned terms and conditions.

                    NOW, THEREFORE, in consideration to the premises and for other good and
              valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
              the Bank and the Authority execute this Sixth Amendment to Assignment and Security
              Agreement (the "Sixth Amendment") and agree as follows:

                     1. The Bank agrees to continue transferring monthly to the Assignor fifty
              percent (50%) of the Revenues allocated and sent by the Department of Treasury, in
              order to cover the Assignor's operational costs and expenses that guarantee the
              provision of essential services in accordance with Executive Order 2015-046. Until the
              Board of Directors of the Bank determines otherwise, the parties agree that the
              previous monthly cap of Ten Million Dollars ($10,000,000) established pursuant the
              Assignment and Security Agreement, as amended, shall be rescinded. Henceforth, the
              management of the Bank shall evaluate monthly the funding needs of the Authority to
              cover its operational costs and expenses, and will determine the amount to_ be
              transferred for such purposes.

                     2. The parties specifically agree that all other terms and conditions established
              in Sub-Section 3.2(iii)(a) of the Assignment and Security Agreement, as amended, not
              inconsistent with the foregoing, shall remain unaltered and in full force and effect.

                     3. This Sixth Amendment does not constitute a novation of the obligations set
              forth in the Assignment and Security Agreement, the Loan Agreement and the Loan
              Documents, and all provisions of the Assignment and Security Agreement, as
              amended, the Loan Agreement and the Loan Documents, not inconsistent with this
              Sixth Amendment, shall remain in full force and effect.

                    4. In the event that any provision of this Sixth Amendment is declared to be void
              or unenforceable, the remainder of this Sixth Amendment shall not be affected thereby
              and shall remain in full force and effect to the extent feasible in the absence of the void
              and unenforceable declaration.

                                             [SIGNATURES ON THE NEXT PAGE]




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              IN WITNESS WHEREOF, the Bank and the Authority have caused this Sixth
       Amendment to Assignment and Security Agreement to be executed and delivered by
       their respective officers thereunto duly authorized, in San Juan, Puerto Rico, as-of the
       date first written above.

        GOVERNMENT DEVELOPMENT                           PUERTO RICO HIGHWAYS AND
        BANK FOR PUERTO RICO                             TRANSPORTATION AUTHORITY



        J
        E
                        Iles Diaz
                        e President
                                                     A~-=-------
                                                         C armen A.
                                                         Executive Director
        a ~""""",'"'1'A f Administration,
        Operations and Comptrollership

       Affidavit No. I, 058

       Recognized and subscribed before me by Jorge A. Clivilles Diaz, as Executive Vice
       President and Director of Administration, Operations and Comptrollership of the
       Government Development Bank for Puerto ~ico, of legal age, married and resident of
       San Juan, Puerto Rico, and Carmen A. Villar Prados, as Executive Director of the
       Puerto Rico Highways and Transportation Authority, of legal age, married and
       resident of Guaynabo, Puerto Rico, both personally known to me.

               In San Juan, Pueri:o Rico, on January 19, 2016.




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                                           EXENTO DEL PAGO DE ARANCEL
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